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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                             FORT WAYNE DIVISION


CHARLES H. JENNINGS,                                )
                                                    )
       Plaintiff,                                   )
                                                    )       Case No.: ____________________
       v.                                           )
                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
       Defendant.                                   )


                     COMPLAINT FOR DAMAGES IN A CIVIL CASE

       Plaintiff, Charles H. Jennings (“Plaintiff”) by counsel, Sweeney Law Firm, asserts this

medical malpractice action against the Defendant, United States of America, and for his Complaint

alleges and says as follows:

                                           PARTIES

       1.      Charles H. Jennings is a citizen of Fort Wayne, Indiana.

       2.      The Defendant is the United States of America. At all times relevant hereto, the

United States acted through its agency, the Department of Veterans Affairs (“VA”), its

subdivision, the Veterans Health Administration (“VHA”), and the employees of those agencies.

       3.      At all times relevant hereto, the Defendant employed a podiatrist, Dr. Bradley R.

Hammersley (“Dr. Hammersley”), to provide podiatric medical care and treatment at the Veterans

Administration Northern Indiana Health Care System (“VANIHCS”) in Fort Wayne, Indiana and

Marion, Indiana.

       4.      At all times relevant hereto, Dr. Hammersley was acting within the scope and

course of his employment with the Defendant.



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                                     JURISDICTION AND VENUE

        5.          Because the United States is the Defendant in this case, this Court has jurisdiction

under 28 U.S.C. §1346.

        6.          The United States has waived its sovereign immunity pursuant to 5 U.S.C. §702.

        7.          At all times relevant hereto, Dr. Hammersley was acting within the scope and

course of his employment with the Defendant and was an “employee of the government” as defined

by 28 U.S.C. §2671.

        8.          Because Dr. Hammersley was acting within the scope and course of his

employment as an “employee of the government” at all times relevant hereto, the Defendant is not

entitled to the “Independent Contractor Exception,” pursuant to Edison v. United States, 822 F.3d

510, 2016.

        9.          Because Dr. Hammersley was an “employee of the government” at all times

relevant hereto, the Defendant is not entitled to dismissal for lack of subject-matter jurisdiction

pursuant to Fed. R. Civ. P. 12(b)(1).

        10.         Pursuant to 28 U.S.C. §1391(e)(1), venue is proper within the Northern District of

Indiana Fort Wayne Division because the events or omissions giving rise to this action occurred

in this District.

        11.         Plaintiff has exhausted his administrative remedies pursuant to 28 U.S.C. §2675(a).

        12.         Pursuant to 28 U.S.C. §2675(a), Plaintiff submitted a Standard Form 95 (“SF95”)

to the Veterans Administration on November 1, 2018 detailing his claim against the Defendant.




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        13.     More than six months have passed since Plaintiff submitted the SF95 to the

Veterans Administration.      Plaintiff has not received any communication from the Veterans

Administration regarding his claim.

        14.     Pursuant to 28 U.S.C. §2675(a), “The failure of an agency to make final disposition

of a claim within six months after it is filed shall, at the option of the claimant any time thereafter,

be deemed a final denial of the claim for purposes of this section.” Plaintiff hereby exercises his

option to deem his claim denied by the Veterans Administration on January 10, 2020.

        15.     Pursuant to 28 U.S.C. §2401(b), Plaintiff files this action “within six months after

. . . final denial of the claim by the agency to which it was presented.”

        16.     Plaintiff first learned that the care provided to him by Dr. Hammersley was

malpractice when he met with VA administrators on March 9, 2018.

        17.     Plaintiff could not have learned that the acts and/or omissions by Dr. Hammersley

were malpractice until he met with the VA administrators on March 9, 2018.

        18.     All conditions precedent to the filing of this action have occurred, been waived, or

have otherwise been satisfied.

                                    STATEMENT OF CLAIM

        19.     Dr. Hammersley performed surgery on Plaintiff on April 10, 2009 for Hammer digit

syndrome of the right foot. Dr. Hammersley breached the standard of care during this surgery by

fusing the hallux in an improper position and placing screws that protruded across the joint into

the metatarsal head. Additionally, Dr. Hammersley performed a partial phalangectomy of the 5th

toe and did not obtain consent for that procedure.

        20.     On January 23, 2010, Plaintiff had an X-ray, which showed a broken screw due to

the screw not being placed appropriately.



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       21.     On March 5, 2010, Dr. Hammersley removed the broken hardware and made a third

attempt to fuse the right hallux interphalangeal joint. Dr. Hammersley chose to use a K-wire

instead of a plate but did not document why he made this choice. Dr. Hammersley breached the

standard of care by performing an incorrect procedure.

       22.     X-rays on March 12, 2010, April 16, 2010, and May 15, 2010 show that the

hardware placed by Dr. Hammersley on March 5, 2010 was not in the correct position. Dr.

Hammersley did nothing in 2010 to attempt to correct this problem.

       23.     On January 24, 2013, Dr. Hammersley performed another surgery on Plaintiff’s

right foot. Dr. Hammersley partially resected the first metatarsophalangeal head and performed a

capsulorrhapy of the first metatarsophalangeal joint, both of which were not indicated. Dr.

Hammersley also failed to correct the dislocation of the 2nd metatarsophalangeal joint and the

deviation of the 1st metatarsophalangeal joint. All of these actions and inactions are breaches of

the standard of care by Dr. Hammersley.

       24.     On October 24, 2014, Dr. Hammersley performed a right foot exostectomy. Dr.

Hammersley breached the standard of care by not performing a CT scan prior to this procedure.

       25.     According to the Institutional Disclosure of Adverse Event (“Disclosure”)

document from the VA dated March 14, 2018 (attached hereto as Exhibit 1), Dr. Hammersley

committed the following acts of malpractice and betrayal in connection with podiatry care and

services rendered to the Plaintiff:




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       26.     On March 9, 2018, Plaintiff was notified by VA administrators that he was the

victim of malpractice at the hands of Dr. Hammersley. At the March 9, 2018 disclosure meeting,

VA administrators informed Plaintiff he had the right to file a malpractice claim against the VA

and provided him with a blank Standard Form (SF95) to complete and submit to the VA.

       27.     In the March 14, 2018 Disclosure document, the VA admitted that Dr. Hammersley

committed the above-mentioned acts of malpractice in connection with the podiatry care and

treatment rendered by Dr. Hammersley to the Plaintiff.

       28.     As a direct and proximate result of Dr. Hammersley’s negligence, Plaintiff suffered

serious and permanent harm including chronic right foot pain and ulcers as well as impaired

function of his right foot that culminated in the amputation of his right foot on December 3, 2018.

       29.     As further direct and proximate result of Dr. Hammersley’s negligence and

unnecessary surgery, the quality of Plaintiff’s life has been significant diminished. The Plaintiff

began experiencing profound feelings/emotions of betrayal when he learned (from a VA podiatrist,

Dr. Becker) that the surgeries were performed inappropriately.

       30.     Plaintiff is seeking the applicable elements/categories of damages set forth in

Indiana Model Civil Jury Instructions (“IMCJI”) 703.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for judgment against the Defendant and respectfully requests

compensatory damages that are commensurate with the harm suffered by Plaintiff and for all

losses, injuries and damages, including the costs of this action and for all other just and proper

relief in these premises.

       Pursuant to 28 U.S.C. §2675(b), Plaintiff seeks damages equal to the amount that Plaintiff

presented to the VA in his SF95. If any newly discovered evidence not reasonably discoverable



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at that time of the filing of the SF95 is discovered, Plaintiff reserves the right to claim damages in

excess of the damages sought in the SF95.

                              CERTIFICATION AND CLOSING

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

reversing existing law; (3) the factual contention have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of Rule

11.

                                       Respectfully submitted this 11th day of January 2020,

                                       “/s/” David L. Farnbauch
                                       David L. Farnbauch (#11187-45)
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